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PEPUTY

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AnD Zen CIST¥C caseno. [7 OV [26-3

[to be filled in by Clerk’s Office]

 

COMPLAINT FOR VIOLATION
OF CIVIL RIGHTS

(for use only by plaintiffs not i
Plaintiff(s), d
v. custody) AMenpar
COS etal King Counky Jury Trial: UXYes C] No

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Les add'l Actes)

[SKA SUPPL A us

I. THE PARTIES TO THIS COMPLAINT

 

 

 

 

A. Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach
additional pages if needed.

Name AMEE} LIST

Street Address v 72.8 E- Ollve st * 3-t O¢
City and County < eae. 4

State and Zip Code TA) AA DP { YL.

 

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COMPLAINT FOR VIOLATION OF CIVIL RIGHTS - 1

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B.

Defendant(s)

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Provide the information below for each defendant named in the complaint, whether the

defendant is an individual, a government agency, an organization, or a corporation. For an
individual defendant, include the person's job or title (if known). Attach additional pages if

needed.

Defendant No. 1

Name

Job or Title (if known)
Street Address

City and County

State and Zip Code
Telephone Number

OAndividual capacity

Defendant No. 2

Name

Job or Title (if known)
Street Address

City and County

State and Zip Code
Telephone Number

individual capacity

Defendant No. 3

Name

Job or Title (if known)
Street Address

City and County

State and Zip Code
Telephone Number
SPlndividual capacity

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206 625 I/

L] Official capacity

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Cl Official capacity

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS - 2°

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Defendant No. 4

Name Yim, COMy ef al

Job or Title (if known) Wy, i) LISA) Ow Sb“ ued fos
Street Address >) [\ £) Ave” a 2 oD

City and County Se alhe_ Ky M,

State and Zip Code is oO x | Wf

Telephone Number 20 ZL 4 —(0 20D Cel cu —

Individual capacity © Official capacity

 

ll. PREVIOUS LAWSUITS

Have you brought any other lawsuits in any federal court in the United States:?

Fre C] Yes If yes, how many?

Describe the lawsuit:

N/A

f #

 

 

 

 

Parties to this previous lawsuit:

Ni

 

 

 

 

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COMPLAINT FOR VIOLATION OF CIVIL RIGHTS - 3

 
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Defendant(s)

Nx

 

 

 

(Uf there is more than one previous lawsuit, describe the additional lawsuits on another
piece of paper using the same outline. Attach additional sheets, if necessary)

Court and name of district:

A

{ FF
Docket Number:

 

Assigned Judge:

 

Disposition: (For example, was the case dismissed as frivolous or for failure to state a

claim? Was it appealed? Is it still pending?)

 

 

 

 

Approximate filing date of lawsuit:

Approximate date of disposition:

 

III. BASIS FOR JURISDICTION
Under 42 U.S.C. § 1983, you may sue state or local officials for the "deprivation of any

rights, privileges, or immunities secured by the Constitution and [federal laws]." Under Bivens

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v. Six Unknown Named Agents of Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may
sue federal officials for the violation of certain constitutional rights.
A. Are you bringing suite against (check all that apply):

| Federal officials (a Bivens claim)

a State or local officials (a § 1983 claim)

~
immunities secured by the Constitution and [federal laws].” USC. § 1983, If you are

suing under section 1983, what federal constitutional or statutory right(s) do you claim

Qa
is/are being violated by state or local officials? Aq U. S. C Q | q o-

US Corsthnhon Fed Const) Amends)

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a Jubtehes, Poh hel tah feces Coes

co Bessig Ped Cue! + Unused punith det Facnvs F

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DU, being Ka by federal officials? Cindes Sh Ih

 

 

 

 

D. Section 1983 allows defendants to be found liable only when they have acted "under
color of any _ statute, ordinance, regulation, custom, or usage, of any State or Territory
or the District of Columbia.” 42 U.S.C. § 1983. If you are suing under section 1983,

explain how each defendant acted under color of state or local law. If you are suing

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS - 5

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under Bivens, explain how each defendant acted under color of federal law. Attach

additional pages if needed.

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will be olistoveey EVERY Dae tare
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arte | ZOE S WA
State as briefly as pos. ble the facts of your case. [ i ow each defendant was personally
involved in the alleged wrongful action, along with the dates and locations of all relevant events.

You may wish to include further details such as the names of other persons involved in the events
giving rise to your claims. Do not cite any cases or statutes. If more than one claim is asserted,

number each claim and write a short an i in statement of each or ina se e pany a,
Attach Syperer pages if needed. | “aA Bie ee wiped

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DAD = 25h ue vi dans ay Os me Smc
“naga ded ahd spn ae the OL Se giving rise Bs your -claim(s) pulp be

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C. | dennied,. |i daderlyin BUR raed (For example: What i a 7

Who did what? Was anyone else aN) “Pp else saw what ee ?)

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COMPLAINT FOR Ave Jo OF CIVIL RIGHTS - 6
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V. INJURIES

If you sustained injuries related to the events alleged above, describe your injuries and state
what “hi treatment, if ame required and did or did

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State briefly what you want the court ta fo Jor you. Make no legal arguments. Do not cite any

cases or statutes. If requesting money damages, include the amounts of any actual damages
and/or punitive damages claimed for the acts alleged. Explain the basis for these claims.

 

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Under Federal Rule of Civil Procedure 11', by signing below, I certify to the best of ‘L
knowledge, information, and belief that this complaint: (1) is not being presented for an improper
purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;
(2) is supported by existing law or by a nonfrivolous argument for extending, modifying, or
reversing existing law; (3) the factual contentions have evidentiary support or, if specifically so
identified, will likely have evidentiary support after a reasonable opportunity for further

investigation or discovery; and (4) the complaint otherwise complies with the requirements of

Rule 11.

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS - 7

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I agree to provide the Clerk's Office with any changes to my address where case-related
papers may be served. I understand that my failure to keep a current address on file with the
Clerk's Office may result in the dismissal of my

on at saning ip [Ie

Signature of Plaintiff

Printed Name of Plaintiff paneer Ll iS

 

Date of signing:

 

Signature of Plaintiff

Printed Name of Plaintiff N | f |

 

Date of signing:

 

Signature of Plaintiff

Printed Name of Plaintiff N Le

 

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS - 8

 
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ADDITIONAL DEFENDANTS KING COUNTY DAJD EE’s

And by COURT INSTRUCTIONS to not submit DISCOVERY, this process is limited. Will need to be supplemented.

KC JAIL EMPLOYEE LIST of INDIVIDUALS named in the records of my SUBMITTED GRIEVANCES as a Pre-Trial
Detainee where my rights were continuously and egregiously VIOLATED under CONSTITUTIONAL magnitude.
KC JAIL hold these records, with specific dates, times and circumstances and also has refused entry of some.

Accordingly, each GRIEVANCE associated w/ said INDIVIDUALS LISTED has DATE, TIME EXPLANATIONS of
VIOLATIONS. And of Mandated king County Policies Operational Practices not being followed.

By no means is this a complete list. | will need to SUPPLEMENT it. But it is what can be done in current time limiting
constraint. Due to DISABILITY ISSUE, as to COMPILING CASE documentation and the Re-TRAUMATIZING effects of
reviewing such documentation is a lengthy excruciating process that widely affects my DISABILITY and thus is
limited.

All such Violations occurred @ KC DAIJD Seattle facility or in the KC COURTHOUSE Seattle location.

CORRECTION OFFICERS C/O

MS. KIEFFER Multiple pervasive incidents, excessive use of force, m‘harassment, falsification
of info in log books, 10/2012, 12/27/2012 — 2014, 01/10/13 restricted phone privileges affecting legal cases (many)
when they were not restricted as a means of retaliation, | lost $10,000 of personal property that my power of
attorneys were needing my communications, further caused more loss because of wrongful classification as
pretrial detainee, which affected legal case representation and release status.

MRS. HENSON 01/13/14 unreasonable search and seizure and destruction of legal documents
as part of retaliation, harassment ongoing,

MRS. VERHELST 09/16/2012 false report 09/22/12 retaliation, nothing further

MS. DAVIS

MS. L. LEWIS (LISA)

MR. ANDERSON

MRS. S. GREER 01/13/14 unreasonable search and seizure and destruction of legal documents
as part of retaliation, harassment ongoing,

MS. LUCAS

MS. JOY

Ms. WOODS

MRS. WEAVER 01/13/14 unreasonable search and seizure and destruction of legal documents

as part of retaliation, harassment ongoing, refusing to answer my/all detainee & inmates button for entire 8hr

shifts

MS. DRAVES

MRS. OCAMPO threats, retaliatory searches, moving cells as retaliatory,02/18/13 feeding
inmates food off floor, refusing to call kitchen for replacement

MS. T. CRAW

MRS. MESKAN (NAMED CHANGED DIVORCE)

MR. T. WALKER (SON YOUNG) 04/2013 ,04/14/13, 04/15/13, 04/29/13 excessive use of force, assault

incl. sexual touching, 04/14/13 sexual harassment, humiliation, 02/18/13 feeding inmates food off floor, refusing
to call kitchen for replacement,

MR. WALKER FATHER (OLDER THAN ME SOME) (ACTING SARGEANT ONCE-PROTECTING HIS SON)

MR WALKER (BALD, A LITTLE YOUNGER THAN ME, NOT RELATED TO ABOVE 2)
Case 2:17-cv-01298-JCC Document16 Filed 12/01/17 Page 11 of 20

MS. HOEL 09/2012 infracted me for relaying unconscious inmates unknown information
to staff, as needed during her medical emergency prior to and during Emergency response, nothing further
FARRINGTON

MR. FARRIS

MS. CARNAGHY (ACTING SARGEANT, SARGEANT)

MR. GORMAN 04/29/13 excessive use of force assault, injury, threats of injury,
violated my right to federally mandated exercise while in administration segregation

MS. WEST

MS. S. PHILLIPS violated my right to federally mandated exercise while in administration

segregation

MR. WALLACE

MR. J. JELLEN (ACTING SARGEANT) 86903

MR. LOUIS (ACTING SARGEANT)

MR. JARVIS (ACTING SARGEANT)

MR. CHASE

MRS. R. MOSES (ACTING SARGEANT)

MR. A FARRELL

MR. LEE

MR. T. ELERICK

MR. K. STARK

MR. CHAVEZ

MR. AN

SELSTAD ? (F)

BUSH

FC NORTON

MR. BECKER

MS. STUVER (ACTING SARGEANT)

McNEELEY

MS. IDIONE

FRAZIER

LOFNIK

MR. TAYLOR

MR. J. JONES

MR. BAUTISTA

MR. RUBIO (TRAINEE)

MR. WOOSLEY

WELLS (? F) (TRAINEE)

VALCHANKO (TRAINEE)

SEVERESON

MS. PARTON 08/20/13 EXCESSIVE FORCE SLAMMING MY HEAD AND BODY INTO A DOOR
JUST OUTSIDE A COURT ROMM HOLDING AREA KC COURTHOUSE 12™ FLOOR
AND TWISTING MY ARMS UP INJURING MY INJURED PREVIOUSLY SHOULDERS

MR. KANZ

MR. FREEDMAN

KIMES

MR. HERNANDEZ

MCNEELEY

MR. BURROWS (ACTING SARGEANT)
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MR. M. GOODMAN

MR. J. GARCIA

A.M. SPIVEY (ACTING SARGEANT)

MR. PORTER HARRASSMENT ONGOING, DENIAL OF UNIFORMS FRESH
MR. ESTRADA

SARGEANTS

TODD WHEELER (M) 06/2013 superiors assigned him as my “Special Sargeant” where he was instructed to
label all my grievances as frivolous, refusing to enter some, answering his own grievances about his conduct,
hereto, answering grievances that are some other departments supervisors grievance, thus subjecting me to more
retaliation. He denied me ON 08/09/13 to take my legally permitted boxes of ALL MY legal documents approved
already and necessary in my defense and pro se cases to effectuate a defense or court reqd dates.

MOHAMMED (M)

HICKS (M)

OWENS (M)

HARRIS (M)

MAUCK (M)

CLARK (M) (? CAPTAIN) ~ ANSWERED OWN GRIEVANCE/TERMINATED IT

VICARI (F) - ANSWERS HER OWN GRIEVANCES

FASEN (M)

MERRITT (M)

BLISS (M)

CARNAGHY (F)

A. FERREIRO (M)

SCHNEIDER (F) - 71503

RAFANAN (M)

E. HAYEB

A. CURRIER

TAPAR (?)

MIZE

JAY RONEY (?)

MAUDE

INGERSOLL

MANAGEMENT LEVEL
COMMANDER G. KARLSSON (M) 04/20/13 ONGOING DELIBERATE INDIFFERENCE WHEN IT COMES TO IGNORING
DISABILITY RIGHTS AND CONDITIONS RELATED06/23/13

MAJOR HYATT (F) 05/06/13 REFUSING TO ACKNOWLEDGE GRIEVANCES | WRITE ARE
PROPER, FOUNDED
CAPTAIN WOODBURY 04/23/13

CAPTAIN KENNETH LOLLIE, COURT DETAIL COMMANDER

CAPTAIN TABHLON

SCHUMAKER (F)

WOMAK (CPA?)

FAILURE TO ACKNOWLEDGE PRO SE STATUS 09/12/12 THRU 04/22/13 AFTER ALSO

ADMINISTRATIVE

L. TEMMONS (F) (LORRAINE) — VISITING HOURS (TIMMONS) refused accommodations (which is an option) of
special visit hours for power of attorney 03/02/13, legal ramifications
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CLASSIFICATION

(intertwined) 09/16/12 -01/2015 wrongly used retaliation FOR MY APPEALING DECISIONS AND STATUS to keep me
held in ad se as.a pretrial detainee and refusing me access to things necessary for court, communication and
defense in case held on

**Classification or better known as holds all true copies of documentation, often | was given illegible faint copies
which are unable to be submitted via scan and copying is worthless save few.

Violations of Policy, Procedures of Classification, rights, failure to investigate properly, failure to protect from
sexual menacing inmates, failure to protect when an inmate disrupts my detainee right to sleep before trial
affecting my communications with legal representation when said inmate kept tank up for 18 DAYS STRAIGHT,
with classification using it as punishment and retaliation.

RON KINTNER CPS SUPERVISOR DAJD SEATTLE DIVISION (MANAGEMENT)

BERNIE DENNEHY (M) PROGRAM ADMINISTRATOR

BRUCE REEDER (M) SUPERVISOR — ANSWERS HIS OWN GRIEVANCES & APPEAL OF IT

JANIS DUPUIS (F) SUPERVISOR

CANDICE B. (BUDHRAM) -CB (F) - also NOTARY, ongoing 09/16/2012 -01/2015 continually put wrong dates up so
officers would deny my out of cell time, phone privileges, plus, violated my right to federally mandated exercise
while in administration segregation, 04/15/13 failure to protect from inmate accused of MURDER

MR. VALDEZ (M)

THOMASINI (M)

CLIFF (M) (REFUSED TO GIVE HIS LAST NAME02/28/13, | BELIEVE WILLIAMI) - ANSWERING HIS OWN GRIEVANCE
KENT (M) (REFUSED TO GIVE HIS LAST NAME ALSO 02/28/13)
K. HAGMAN

STEVE (REFUSED TO GIVE HIS LAST NAME ALSO)

SHAWN ALEXANDER

WAYDE SILVA

CURTIS (REFUSED TO GIVE HIS LAST NAME ALSO)

DEREK WILLIAMSON

RODNEY PRIOLEAU

KEN (REFUSED TO GIVE HIS LAST NAME. ALSO)

LEGAL WORKSTATION - LIMITED ACCESS

DEFOLO (F)

D. OGLE PRIOR TO 04/24/30AND AFTER __ long awaited times to be scheduled when | was pro-
se and administration refused to acknowledge my pro se status SINCE 09/12/12 04/23/13 PLUSin criminal appeals
and more, later rectified and fought for by Superior COurt Judge Rogoff

COMMISSARY
JOHN
PATRICK

L. SMITH (?)

MAIL ROOM/ RECORDS OFFICE
S. REBEL (F) ? SUPERVISOR (ROBEL)

A. WILLIAMS (ANDREA) SUPERVISOR, RECORDS & INFORMATION SYSTEMS MANAGEMENT — ANSWERS HER OWN
GRIEVANCES

Legal mail opened not in my person multiple times, one date is 04/04/13

GRIEVANCE OFFICE
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GRIEVANCE ENTRY COORDINATOR -— SIGNED AS THIS
ANDREA WILLIAMS OR (? WILBEY)

MEDICAL STAFF

NURSE WHISMAN RN

NURSE JEFF

BEN SANDERS

JOHN and JANE DOES

(most medical staff nurses, change and are unidentifiable or refuse name)

 
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SEATTLE POLICE DEPARTMENT

ADDITIONAL DEFENDANTS

A/SGT MICHAEL RENNER

EXCESSIVE USE OF FORCE 2011, EGREGIOUS ASSAULT ON VIDEO 08/23-24/2011 ON VIDEO WHILE
HANDCUFFED AND ALREADY SUFFERING FROM MEDICAL INJURIES, CAUSING SERIOUS INJURIES TO
ALREADY INJURED PLAINTIFF LISTER, REFUSED TO TAKE PLAINTIFF LISTER TO HOSPITAL 2011, THREATS &
ABUSE, WRONGFUL ARREST (3) 2011, FAILURE TO RECOGNIZE AND DIFFERENTIATE PLAINTIFF LISTER AS
THE DOMESTIC VIOLENCE VICTIM/SURVIVOR FROM THE ACTUAL PERPETRATOR, FAILURE TO
INVESTIGATE, FAILURE TO INVESTIGATE PROPERLY, REFUSED TO ALLOW ME ACCESS TO BATHROOM
FOR EXTENDED TIME (HOURS IN HOLDING CELL NO TOILET) WRONGLY SEARCHED MY PURSE NOT IN MY
PRESENCE AND AFTER ARRESTING ME 2011, VIOLATED LAW BY PUTTING SEARCHING MY USB THUMB
DRIVES WHICH HOLD CONFIDENTIAL INFORMATION/EVIDENCE, HIPAA AS TO MY PRO SE CASES —
INCLUDING HIS PRIOR ARREST THIS CASE — ALL ON DEPARTMENT COMPUTERS, AFTER JAIL EE FORCED
RENNER TO TRANSPORT ME TO HOSPITAL FOR SEVERE AND SEVERAL INJURIES HE CAUSED - HE THEN
INTERFERED IN MY CONFIDENTIAL CONVERSATION W/ NURSE CAUSING ISSUES W/ HEALTH & PRIVACY
INFO (A VIOLATION OF HIPAA RIGHTS), BILLING, ADDRESS, ETC., FALSIFIED POLICE REPORTS, FALSE &
MISLEADING TESTIMONY 2014, LIED, IMPROPERLY TOWED PLAINTIFF’S LEGALLY PARKED VEHICLE FROM
HER ADDRESS 08/23-24/11, FAILURE TO (SELF) REPORT ASSAULT AND USE OF EGREGIOUS EXCESSIVE
FORCE TO PROPER AUTHORITY WITHIN SPD, OPA, FAILURE TO PROTECT, FAILURE TO ACT, CONSPIRE TO
ACT/USE EXCESSIVE FORCE, OTHER KNOWN REPORTS PRIOR YEARS

CHRISTINE NICHOLS

EXCESSIVE USE OF FORCE 2009, 2011, INJURY 2009, 2011 THREATS & ABUSE 2009, 2011, DISOBEYIN

G JUDGE ORDERS 2009, WRONGFUL ARREST 2009, WRONGFUL ARREST (3) 2011, FAILURE TO
RECOGNIZE AND DIFFERENTIATE PLAINTIFF LISTER AS THE DOMESTIC VIOLENCE VICTIM/SURVIVOR
FROM THE ACTUAL PERPETRATOR, FAILURE TO INVESTIGATE (MULTIPLE) 2009, 2011, FAILURE TO
INVESTIGATE PROPERLY 2009, 2011, FALSIFIED MULTIPLE POLICE REPORTS 2009, 2011-12, LIED, FALSE &
MISLEADING TESTIMONY 2009, 2014, IMPROPERLY TOWED PLAINTIFF’S LEGALLY PARKED VEHICLE
FROM HER ADDRESS 08/23-24/11, WAS AWARE OF EGREGIOUS ASSAULT BY OFFICER IN SW PRECINCT,
FAILURE TO SELF REPORT AND REPORT ASSAULT(S) AND EXCESSIVE USE OF FORCE TO PROPER
AUTHORITY WITHIN SPD, OPA, AWARE OF ANOTHER OFFICER’S USE OF FORCE, FAILURE TO PROTECT,
FAILURE TO ACT, CONSPIRE TO ACT/USE EXCESSIVE FORCE, OTHER KNOWN REPORTS PRIOR YEARS
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ALVARO FERRIERA

EXCESSIVE USE OF FORCE, FAILURE TO INVESTIGATE 2011, FAILURE TO INVESTIGATE PROPERLY 2011,
FALSIFIED POLICE REPORTS 2009, 2011-, LIED, FALSE & MISLEADING TESTIMONY 2014, FAILURE TO
RECOGNIZE AND DIFFERENTIATE PLAINTIFF LISTER AS THE DOMESTIC VIOLENCE VICTIM/SURVIVOR
FROM THE ACTUAL PERPETRATOR, IMPROPERLY TOWED PLAINTIFF’S LEGALLY PARKED VEHICLE FROM
HER ADDRESS 08/23-24/11, WAS AWARE OF EGREGIOUS ASSAULT BY OFFICER IN SW PRECINCT, AWARE
OF ANOTHER OFFICER’S USE OF FORCE, FAILURE TO ACT, CONSPIRE TO ACT/USE EXCESSIVE FORCE,
FAILURE TO REPORT ASSAULT AND USE OF EXCESSIVE FORCE TO PROPER AUTHORITY WITHIN SPD, OPA,
WAS AWARE OF EGREGIOUS ASSAULT BY OFFICER IN SW PRECINCT, FAILURE TO REPORT ASSAULT AND
EXCESSIVE FORCE TO PROPER AUTHORITY WITHIN SPD, OPA, AWARE OF ANOTHER OFFICER’S USE OF
FORCE, FAILURE TO PROTECT, FAILURE TO ACT, CONSPIRE TO ACT/USE EXCESSIVE FORCE, OTHER
KNOWN REPORTS PRIOR YEARS

SGT JOSEPH MACCARONE

SUPPORTED KNOWN FALSE REPORTS, IMPROPERLY TOWED PLAINTIFF’S LEGALLY PARKED VEHICLE
FROM HER ADDRESS 08/23-24/11, FAILURE TO RECOGNIZE AND DIFFERENTIATE PLAINTIFF LISTER AS
THE DOMESTIC VIOLENCE VICTIM/SURVIVOR FROM THE ACTUAL PERPETRATOR, WAS AWARE OF
EGREGIOUS ASSAULT BY OFFICER IN SW PRECINCT, FAILURE TO REPORT ASSAULT AND EXCESSIVE FORCE
TO PROPER AUTHORITY WITHIN SPD, OPA, AWARE OF ANOTHER OFFICER’S USE OF FORCE, FAILURE TO
PROTECT, FAILURE TO ACT, CONSPIRE TO ACT/USE EXCESSIVE FORCE, OTHER VIOLATIONS, OTHER
KNOWN REPORTS PRIOR YEARS

DETECTIVE NICOLE FREUTEL

FALSIFIED INFORMATION IN REPORT(S)/LIED IN CASE INVESTIGATION REPORT 2013 - USED IN COURT
CASE 2013 & 2014, FAILURE TO INVESTIGATE 2013, FAILURE TO INVESTIGATE PROPERLY 2011-2014,
FAILURE TO RECOGNIZE AND DIFFERENTIATE PLAINTIFF LISTER AS THE DOMESTIC VIOLENCE
VICTIM/SURVIVOR FROM THE ACTUAL PERPETRATOR, FAILURE TO ACT, CONSPIRE TO ACT/USE
EXCESSIVE FORCE, FAILURE TO PROTECT

JONATHAN COLE

FAILURE TO INVESTIGATE 2012, FAILURE TO INVESTIGATE PROPERLY 2012, FAILURE TO CONTACT
PLAINTIFF LISTER THE ACTUAL VICTIM 2012, FAILURE TO PROTECT, FAILURE TO ACT, CONSPIRE TO ACT
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GREGORY DRURY

FAILURE TO INVESTIGATE 2012, FAILURE TO INVESTIGATE PROPERLY 2012, FAILURE TO CONTACT
PLAINTIFF THE ACTUAL VICTIM 2012, FAILURE TO PROTECT, FAILURE TO ACT, CONSPIRE TO ACT

JOEL A. NARK

FAILURE TO DISCLOSE HIS CLOSE RELATIONSHIP W/ DAN WISEMAN, HIS RECEIVING FREE ITEMS (BRIBES)
IN EXCHANGE FOR BOLSTERING & ACCOMODATING POLICE REPORT(S) [ONGOING MANY YEARS],
FALSIFIED 2 KNOWN POLICE REPORTS 2012, CONSPIRE TO ACT/BENEFIT FROM IT, FAILURE TO
INVESTIGATE 2012, FAILURE TO INVESTIGATE PROPERLY 2012, FAILURE TO RECOGNIZE AND
DIFFERENTIATE PLAINTIFF LISTER AS THE DOMESTIC VIOLENCE VICTIM/SURVIVOR FROM THE ACTUAL
PERPETRATOR, FAILURE TO PROTECT, FAILURE TO ACT, FAILURE TO CONTACT PLAINTIFF THE ACTUAL
VICTIM, FAILED TO IDENTIFY HIMSELF AS A POLICE OFFICER, FAILED TO IDENTIFY HIMSELF AS AN
OFFICER ON DUTY/ RESPONDING TO A REQUEST FOR REPORT CALL, LIED ABOUT AN ALLEGED INCIDENT,
THREATS, FALSE & MISLEADING TESTIMONY, PERJURY, FAILURE TO REPORT KNOWN ASSAULT TO
PROPER AUTHORITY WITHIN SPD, OPA,

DOUGLAS JORGENSEN

INNACURATE/FALSE INFO ON MULTIPLE POLICE REPORT(S) 2009, 2011, FALSE & MISLEADING
TESTIMONY 2014, FAILURE TO PROTECT, FAILURE TO ACT, CONSPIRE TO ACT

SPD POLICE CHIEF JOHN DIAZ

DELIBERATE INDIFFERENCE, WILLFUL NEGLIGENCE KNOWING ABOUT ISSUES WITH OFFICERS USE OF
FORCE, PROBLEMS & DISHONESTY, FAILURE TO INVESTIGATE, FAILURE TO ACT, FAILURE TO PROTECT,
FAILURE TO DISCIPLINE BASED ON MISCONDUCT OF OFFICERS, CONSPIRING TO COVER UP SUCH ISSUES,
OR ALLOWING TREATMENT FOR BENEFIT OR FAVORING FRIENDS OR COMMUNITY MEMBERS SUCH AS
PERPETRATOR DAN WISEMAN DUE TO MONETARY GIFTS OR FUNDING TO BUILD WS POLICE PRECINCT,
FUNDING TO START BIKE PATROL ON ALKI/CITY 2004-2013

SPD POLICE CHIEF KATHLEN O’TOOLE

DELIBERATE INDIFFERENCE, WILLFUL NEGLIGENCE KNOWING ABOUT ISSUES WITH OFFICERS USE OF
FORCE, PROBLEMS & DISHONESTY, FAILURE TO INVESTIGATE, FAILURE TO ACT, FAILURE TO PROTECT,
FAILURE TO DISCIPLINE BASED ON MISCONDUCT OF OFFICERS, CONSPIRING TO COVER UP SUCH ISSUES
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JOHN and JANE DOES

YET TO BE NAMED — SPD PRECINCT COMMANDERS, CAPTAINS, SUPERVISORS & SARGEANTS, OFFICERS
AT DATE OF INCIDENTS, IN REPORTS NOT ACCESSIBLE TO OBTAIN YET

SPECIFICALLY SURROUNDING A WRONGFUL ARREST ON 12/03/14, RETALIATORY IN ESSENCE WHERE
THERE WERE MULTIPLE OFFICERS WHO HID THEIR NAME FROM VIEW, THAT ARE UNNAMABLE UNTIL |
CAN POSSIBLY GET CASE COPIES UNDER INDIGENCY, SAVE A FEW LIKE OFFICER LUCKY (MALE) AND
OTHER OFFICERS WHO PROPERLY IDENTIFIED THEMSELVES IN PICTURES AND INCLUDING A FEMALE
SARGEANT FROM THE WEST PRECINCT WHO VIOLATED MY RIGHTS TO ASSEMBLE PEACEFULLY WHEN
SHE INSTRUCTED OTHER OFFICERS TO FALSELY ARREST ME BASED OR PURPORTING THAT | COMMITTED
AN ASSAULT ON AN OFFICER THAT DID NOT OCCUR ACCORDING TO 9 UNDERCOVER SPD OFFICERS WHO
WERE THERE FOR THE VERY REASON OF INTERACTING AND SURVEILLING THE PROTEST AT HAND AND
EACH OF THOSE 9 ATTESTED TO THAT | HAD NEVER ASSAULTED OFFICER LUCKY WHO STRUGGLED TO
RIDE HIS BIKE SLOWLY AS THE CROWD SLOWED OR STOPPED.

****OQTHER VIOLATIONS AS INFORMATION IN REPORTS STILL NOT RECEIVED, DENIED OR IN CASE FILES
OF ATTORNEYS, NEVER BEEN GIVEN TO ME DESPITE P.R.A. LAWS & DEFENDANT RIGHTS, REQUESTS
FROM COUNSEL, REQUESTING COPIES, AFTER CASE CLOSED, REQUESTED AS DISCOVERY TO REVIEW
WHEN DENIED REVIEW OF POLICE REPORTS/ COPIES, MADE KNOWN TO JUDGES THAT DISCOVERY HAD
NOT BEEN REVIEWED IN ALL CASES, PRIOR TO TRIAL

PRIOR EXPERIENCED EGREGIOUS ASSAULTS AND USE OF EXCESSIVE FORCE VIOLATIONS
CHEN/ CHANG

ON 2/14-15/2004 STOPPED ME AT MY OWN HOUSE IN A PARKING SPOT WHERE ALL OUR CARS ARE
CRAMMED IN TOGETHER, A MILE AFTER HE ALLEGED THAT | COMMITTED A CALIFORNIA STOP COMING
HOME BETWEEN 12-3 AM FROM DINNER OUT AT A RESTAURANT EARLIER AND THEN MY BOYFRIENDS
HOUSE AFTER A VALENTINES DATE. HE ACCUSED ME OF GOING TO RUN WHICH | DID NOT DO AND
WOULD NOT DO AND HAVE NEVER EVER DONE IN MY LIFE. MY CAR DOOR WOULDN'T OPEN ALL THE
WAY ESSENTIALLY BLOCKING WHERE | COULDN’T GO AROUND THE OPEN CAR DOOR AS IT WAS SWUNG
OPEN. | WAS A PERSON WITH INTEGRITY, AND HE WAS STANDING RIGHT THERE 2 FEET FROM ME
AFTER | STEPPED OUT OF MY VEHICLE. HE THEN FORCED ME TO SPREAD EAGLE ACROSS HIS HOOD OF
THE POLICE CAR (A BABY BLUE FORD CROWN VIC). | WAS IN A MINISKIRT, SCANTILY CLAD, POLICE
LIGHTS FLASHING INTO MY HOUSE, INTO UPSTAIRS LANDLORDS, INTO NEIGHBOR’S HOUSES WAKING
ANYONE FROM THE FLASHING LIGHTS. AND SEEING MY BARE ASS BENT OVER WHERE MY MINISKIRT
HAD RISEN FROM THE POSE | WAS FORCED TO BE HELD IN. | CONTACTED POLICE CHIEF DIAZ FIRST WHO
WAS KIND AND POLITE, BUT TRIED TO EXPLAIN AWAY, DISMISS OR DISCOURAGE ME, TALK ME OUT OF
FILING A FORMAL COMPLAINT. AFTER THIS INCIDENT WHERE | MADE A FORMAL OPA COMPLAINT
WHICH WAS AN EXCRUTIATING EXPERIENCE WHERE THEY DON’T BELIEVE VICTIMS OF POLICE
BRUTALITY AND PROBLAMIC POLICING, BUT BASICALLY TRY TO INTEROGATE A PERSON TO DEATH OR
TO BE INCONSISTENT. AND AFTER THEY DID NOT FOLLOW UP EXPEDIENTLY BUT ONLY TRIED TO
FOLLOW UP MONTHS LATER AFTER | HAD MOVED DESPITE MY LICENSE ADDRESS HAD CHANGED NO
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FURTHER CONTACT OCCURRED. HORRIBLE. AND FOR THAT VERY UNJUST EXPERIENCE IS WHY | NEVER
MADE A FORMAL OPA COMPLAINT ON OFFICER WILLIE ASKEW, AND FOR FEAR OF RETALIATION. I
BELIEVE HE IS STILL ON THE FORCE.

WILLIE ASKEW

FALL 2004, OFFICER ASKEW COMMITTED AN EGREGIOUS EXCESSIVE USE OF FORCE ASSAULT ON ME,
BODY SLAMMING ME ON THE ASPHALT OF THE WEST SEATTLE BRIDGE WHILE | WAS 7-8 MONTHS
PREGNANT AND ALREADY IN A HIGH RISK PREGNANCY. A CLEAR VIOLATION OF CONSTITUTIONAL
RIGHTS & PROTECTIONS. HE THEN WRONGFULLY ACCUSED ME OF STEALING MY OWN CAR, 1992 RED
FIREBIRD | HAD OWNED SINCE 1998. HE THEN ACCUSED ME OF STEALING OLD FAX MACHINES AND
COMPUTER MONITORS THAT WERE IN MY CAR THAT | WAS DRIVING FOR DONATING TO RE-PC OR
GOODWILL STORES FOR TAX DEDUCTION PURPOSES. HE THEN SEARCHED MY PURSE AND TOOK MY
LICENSE & IDENTIFICATION AND MY MOMS DEBIT CARD (I HAD CUSTODY OF TO PAY HER BILLS) OUT OF
MY PURSE. ASKEW NEVER GAVE THEM BACK. HE SAID, (QUOTE) “I KNOW YOU, YOU’RE A CRIMINAL”.
AFTER HE ACCUSED ME OF BEING A CRIMINAL AND STARTED DEMANDING/ ORDERING ME TO GET OUT
OF MY VEHICLE IN AN UNSAFE STOP IN TRAFFIC WHILE ON THE BRIDGE WHERE CARS SPEED UP TO
ADVANCE ONTO IT FROM HARBOR AVESW & AVALON WAY SW. | LUCKILY HAD QUICKLY CALLED 911 TO
REPORT HIM BECAUSE | KNEW HE WAS DANGEROUS. | ASKED FOR IMMEDIATE BACK UP (OFFICERS OR A
SARGEANT) TO ARRIVE. | WAS FRIGHTENED OF WHAT HE MIGHT DO TO ME. HE OPENED MY CAR DOOR
AND BEGAN MANHANDLING ME, GRABBED ME AND THEN BODY SLAMMED ME. OFFICERS HAD JUST
ARRIVED TOO. AND A FEW MINUES LATER A SARGEANT APPEARED. | EXPLAINED WHAT TRANSPIRED. HE
CLEARED ME TOLD OFFICER ASKEW TO UNCUFF ME AND RELEASED ME. | WAS TRAUMATIZED AND
REFUSED AMBULANCE BECAUSE THEY WOULDVE TOWED MY VEHICLE. NOT TO MENTION THE
PSYCHOPATH NOW HAD MY ID, ADDRESS, MY MOTHERS NAME, ETC. | DID FOLLOW UP WITH DRS AND
MY CHIROPRACTOR. | TRIED TO COMPLAIN TO SPD DOWNTOWN TO NO AVAIL. THEY HAD REFUSED TO
ADDRESS ANOTHER OFFICERS WRONGFUL ACTIONS A FEW MONTHS PRIOR. AND MANY PEOPLE HAD
HAD RUN INS WITH ASKEW, HE WAS KNOWN TO GENERAL PEOPLE AS EXTREMELY AGGRESSIVE,
UNPROFESSIONAL, EXTREMELY VOLATILE, NOT TO MENTION PSYCHOTIC, DANGEROUS AND SCARY (NOT
JUST BECAUSE OF HIS SIZE). PLUS THE VIOLENCE | EXPERIENCED AT HIS HUGE FRAME BODY SLAMMING
MY 7-8 MONTHS PREGNANT BODY ON THE ASPHALT CONFIRMED THAT. CLEARLY | WAS NOT A KNOWN
CRIMINAL, AND | HAD FRIENDS EMPLOYED AT SPD AND IN OTHER LAW ENFORCEMENT AGENCIES. AS
WELL AS A KNOWN BUSINESS OFFICE OWNER IN THAT BUILDING THAT FREQUENTED THE FILIPINO DELI
FOR LUNCH ON A REGULAR BASIS WHERE THE GIRL WORKED FOR HER AUNT. HE WAS ALWAYS TRYING
TO DATE HER AND HANGING AROUND ON & OFF DUTY. THIS BUSINESS IS WHERE | HAD MET HIM PRIOR
TO THIS TRAFFIC STOP VIOLATING MY RIGHTS, WHEN WE MOVED THE DELI OWNER’S FURNITURE
TOGETHER FOR THE BUSINESS OWNER & GIRL’S AUNT TO MUKILTEO WHERE SHE STARTED A HOME
CARE FOR OLDER ADULTS. | WAS THE DRIVER OF THE UHAUL. SHE HAD TOLD ME HE WAS POSSESSIVE,
WOULDN'T LEAVE HER ALONE AND SHE FEARED HIM BECAUSE HE HAD THREATENED HER. EVENTUALLY
MONTHS LATER HE WAS KNOWN TO HAVE KIDNAPPED AND HELD HOSTAGE THAT MUCH YOUNGER
ASAIN WOMAN WORKING AT LUNCH DELI IN THE BUSINESS BUILDING WHERE MY OFFICE WAS. HE HAD
HELD HER CAPTIVE ILLEGALLY BY NOT ALLOWING HER TO LEAVE HER OWN ABODE, AND | HEARD IT
FROM OTHER OFFICERS AND CIVILIANS LATER.
